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 3                             UNITED STATES DISTRICT COURT

 4                                    DISTRICT OF NEVADA

 5   NICHOLAS JAMES WILLING,                             Case No.: 2:14-cv-01194-RFB-CWH

 6          Petitioner
                                                                        ORDER
 7 v.

 8 BRIAN E. WILLIAMS, SR., et al.,

 9          Respondents

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11         This action is a petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2254. On

12 August 7, 2020, this court granted Respondents’ motion to strike several documents that Petitioner

13 Nicholas James Willing filed pro se because he is represented by counsel (ECF No. 108). Willing

14 has now filed 5 more documents pro se: a motion for recusal of the District Court judge (ECF No.

15 110); motion for reconsideration of this court’s order striking his previously improperly filed

16 documents (ECF No. 111); notice (ECF No. 115); response to motion for extension of time (ECF

17 No. 116); and motion for evidentiary hearing (ECF No. 117). Respondents have filed motions to

18 strike the documents (ECF Nos. 112, 113, 118, 119, 120).

19         As the court has previously explained in this case, a party who is represented by counsel

20 cannot file pleadings or any other documents pro se without leave of the court. LR IA 11-6(a) of

21 the Local Rules of Practice. Accordingly, Respondents’ motions are granted, and the pro se

22 documents shall be stricken as fugitive documents.

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 1        IT IS THEREFORE ORDERED that respondents’ motions to strike fugitive documents

 2 (ECF No. 112, 113, 118, 119, 120) are all GRANTED.

 3        IT IS FURTHER ORDERED that the following fugitive documents filed by petitioner:

 4 motion for recusal of the District Court judge (ECF No. 110); motion for reconsideration of this

 5 court’s order striking previously improperly filed documents (ECF No. 111); notice (ECF No.

 6 115); response to motion for extension of time (ECF No. 116); and motion for evidentiary hearing

 7 (ECF No. 117) are all STRICKEN.

 8        IT IS FURTHER ORDERED that Respondents’ motion to extend time to file their

 9 answer to the petition (ECF No. 114) is GRANTED nunc pro tunc.

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11        Dated: October 20, 2020

12                                                        _________________________________
                                                          RICHARD F. BOULWARE, II
13                                                        U.S. District Judge

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